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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                        www.flsb.uscourts.gov
IN RE:                                        Case No. 18-22930-LMI
Mariela C. Roman                              Chapter 7

           Debtor.                                   /

                                    ANMENDED NOTICE OF FILING1

           Comes now, Nationstar Mortgage LLC d/b/a Mr. Cooper and hereby gives Notice of

Filing of the Judgment in Southern District of Florida Criminal Case 1:15-cr-20691-MGC United

States of America vs Mariela Roman (Doc. No. 160) dated June 1, 2016 and suggests that the

restitution amount of $2,353,637.03 creates a “no equity” situation as the amount of

encumbrances far exceeds the value of the subject real property located at 234 Northeast 3rd

Street, Miami, FL 33132. Also attached are the following:

           1.      Notice of Lis Pendens related to the subjection real property in the same case

styled Southern District of Florida Criminal Case 1:15-cr-20691-MGC United States of America

vs Adriana Scalabroni, et al. Debtor is one of the Defendants. Recorded at Official Records of

Miami – Dade County at Book 29893 at Page 936 on December 17, 2015.

           2.      Notice of Lien and/or Restitution filed by the U.S. Attorney’s office relating to

the June 1, 2016 Judgment recorded at Official Records of Miami – Dade County at Book 31131

at Page 885 on September 7, 2018.

                                                               /s/Steven G. Powrozek
                                                               Steven G. Powrozek
                                                               FL Bar # 0316120
                                                               Shapiro, Fishman & Gaché, LLP
                                                               Attorney for Secured Creditor
                                                               4630 Woodland Corporate Blvd.
                                                               Suite 100
                                                               Tampa, FL 33614
1
    This notice is amended to attach the documents referenced and add two additional documents.
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                                                     Telephone: (813) 367-5813
                                                     Fax: (813) 880-8800
                                                     E-mail: spowrozek@logs.com

                                CERTIFICATE OF SERVICE

         I hereby certify that I am admitted to the Bar in the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice
in this court set forth in Local Rule 2090-1.

       I hereby certify that a true and correct copy of the foregoing amended notice of filing has
been served either by CM/ECF transmission or standard first class mail this 11th day of February,
2019.

 Via First Class U.S. Mail Only:
 Mariela Roman, Federal Correctional Complex Coleman Prison Camp POB 1027, Coleman, FL
 33521

 Via CM/ECF Electronic Filing Only:
 Ross R Hartog, 9130 S Dadeland Blvd # 1800, Miami, FL 33156
 John H. Lee, 9130 South Dadeland BLVD #1800, Miami, FL 33156
 United States Trustee, 51 SW First Avenue, Suite 1204, Miami, FL 33130

                                                     /s/Steven G. Powrozek
                                                     Steven G. Powrozek
                                                     FL Bar # 0316120
                                                     Shapiro, Fishman & Gaché, LLP
                                                     Attorney for Secured Creditor
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